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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 FRED L. NANCE, Jr.,                              )
                                                  )
                               Plaintiff,         )
                                                  )    No. 22 C 3861
                       v.                         )
                                                  )    Judge Hunt
 UNITED STATES, et al.,                           )
                                                  )
                               Defendants.        )

              MEMORANDUM IN SUPPORT OF DEFENDANT’S MOTION
            TO DISMISS OR ALTERNATIVELY FOR SUMMARY JUDGMENT

                                            Introduction

        On August 4, 2023, the court dismissed without prejudice plaintiff Fred L. Nance’s

complaint alleging negligence under the Federal Tort Claims Act, and it dismissed his other claims

with prejudice, but the court “granted a final opportunity” for Nance “to allege a proper cause of

action under the FTCA against the Government Defendants.” Order, Dkt. 19. Nance’s amended

complaint fails to allege a proper cause of action under the FTCA for the same reasons that his

prior complaint failed: he does not identify any tort, or provide facts supporting the elements of a

tort, that would give rise to a claim under the FTCA. Therefore, there is no required analogous

tort liability against a “private individual under like circumstances.” 28 U.S.C. §§ 2674, 1346(b).

The court should also dismiss his remaining claims because they are not actionable under the

FTCA.     Accordingly, the court should dismiss the amended complaint with prejudice, or

alternatively grant summary judgment in favor of the United States.
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                                              Facts

        The relevant facts remain the same as his prior complaint in this case. See Def. Mem. at 2-

4, Dkt. 7. See also Mem. Op. and Order in Nance’s previous case, Dkt. 64, No. 20 C 6316. Briefly,

Nance alleged $880 in purportedly unauthorized transactions by his employer EMAGES and filed

reports with the U.S. Office of Special Counsel and the DOJ’s Office of the Inspector General,

both of which denied his claims. Defendant’s Rule 56.1 Statement of Material Facts (“DSF”) ¶¶

11-14. He also reported the allegedly unauthorized transactions to grant-oversight agency, the

DOJ’s Office of Justice Programs (OJP) and, in response, OJP’s Office of the Chief Financial

Officer (OCFO) conducted an in-depth review of EMAGES’ accounting practices. DSF ¶ 15.

When EMAGES terminated its grant award due to the company’s COVID-related financial and

operating challenges and ceased performing under the grant, Nance alleged that EMAGES’

termination of him was in retaliation for his reports about unauthorized transactions (which he

labels as a whistleblowing complaint). Am. Compl. at 21, 33. Nance alleges that the United States,

through DOJ employees, conspired to retaliate against him for these reports. Id.

        Nance himself also unsuccessfully applied to a DOJ grant program in 2021. DSF ¶ 19.

While his application was pending, he sought a position with DOJ to review and grade applications

to the same program to which he applied. DSF ¶ 20. Because of his conflict of interest as a grant

applicant, he was not permitted to review and grade other applicants’ grant applications. Id. Nance

alleges that his unsuccessful grant application and unsuccessful attempt to review and grade grant

applications was in retaliation for his reports about EMAGES’ transactions. Am. Compl. At 12-

14.




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                                              Argument

        Nance’s FTCA claims fail because: (1) there is no analogous private tort liability in Illinois,

a requirement for FTCA liability; (2) Nance fails to even allege, must less provide evidence to

support, the elements of a negligence claim; and (3) his other bases are barred by the FTCA for

several reasons, as the court has already found. His remaining claims, that he suffered a retaliatory

discharge and was subjected to a “conspiracy,” were previously dismissed with prejudice, and they

are not cognizable in any event under the FTCA.

I.      Nance’s FTCA Claims Should Be Dismissed Because There Is No Analogous State
        Tort Liability as Required Under the Act.

        Like his first baseless complaint, Nance fails to allege any analogous tort liability against

the government “as a private individual under like circumstances,” as required under 28 U.S.C.

§ 2674. He also fails to identify any legal duty owed to him by the United States that was allegedly

breached by processing a grant termination request submitted by a federal grant recipient; by

disallowing Nance from reviewing and grading applications to a grant program where he had a

clear conflict of interest; or by not awarding a discretionary federal grant to Nance’s organization.

        To hold the United States liable in general, there must be a clear statutory waiver of sovereign

immunity. United States v. Mitchell, 445 U.S. 535, 538 (1980). A plaintiff must strictly and fully comply

with the terms of any statutory waiver. United States v. Sherwood, 312 U.S. 584, 587 (1941). Nance

invokes the FTCA, which is “a limited waiver of sovereign immunity” that was not intended to create new

causes of action. United States v. Orleans, 425 U.S. 807, 813 (1976); Collins v. United States, 642 F.2d

217, 219 (7th Cir. 1981).

        One of the FTCA’s conditions to suit is analogous state tort liability against the government as

against a “private individual under like circumstances.” 28 U.S.C. § 2674. The jurisdictional provision of

the Act, § 1346(b), limits the government’s liability to those torts committed by government employees


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“under circumstances where the United States, if a private person, would be liable to the claimant in

accordance with the law of the place where the [tortious] act or omission occurred.” 28 U.S.C. § 1346(b);

see Feres v. United States, 340 U.S. 135, 141 (1950); see also Emps. Ins. of Wausau v. United States, 830

F. Supp. 453, 456 (N.D. Ill. 1993), aff’d, 27 F.3d 245 (7th Cir. 1994), citing Chen v. United States, 854

F.2d 622 (2d Cir.1988) (“As we recently held in Chen, ‘for liability to arise under the FTCA, a plaintiff's

cause of action must be ‘comparable’ to a ‘cause of action against a private citizen’ recognized in the

jurisdiction where the tort occurred, and his allegations, taken as true, must satisfy the necessary elements

of that comparable state cause of action.’”). If a private person under similar circumstances would not

be liable to the plaintiff for the alleged conduct, a court does not have jurisdiction to adjudicate the

FTCA claim. United States v. Olson, 546 U.S. 43, 44 (2005).

        The FTCA’s analogous private liability requirement prevents the Act from creating novel

causes of action against the United States and only accepts government liability under “like

circumstances” that are functionally equivalent to those where a private individual would be liable.

28 U.S.C. § 2674. As described by the Seventh Circuit, the FTCA’s “like circumstances”

requirement is designed to prevent state legislatures from using the United States’ limited waiver

of sovereign immunity to “enrich their own citizens at the expense of the deepest pocket.” Carter

v. United States, 982 F.2d 1141, 1143 (7th Cir. 1992). This safeguard is consistent with the

FTCA’s intent to limit the waiver of sovereign immunity to “ordinary common-law torts” where

clear, private analogues exist under state tort law. United States v. Gaubert, 499 U.S. 315, 325

(1991); Dalehite v. United States, 346 U.S. 15, 28 (1953).

        Also, if the necessary elements of a tort claim under state law are not present, then the case

is not cognizable under the FTCA. Id. In Illinois, “[t]o recover damages based upon negligence,

a plaintiff must prove that the defendant owed a duty to the plaintiff, that the defendant breached



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that duty, and that the breach was the proximate cause of the plaintiff's injury.” Krywin v. Chicago

Transit Auth., 238 Ill.2d 215, 225 (2010). Here, Nance’s unsupported novel theory of liability –

that the government is liable to an employee of a grant recipient when such recipient terminates

an award for reasons disputed by the employee – fails because there is no analogous tort liability

against the government as a “private individual under like circumstances” as required under 28

U.S.C. § 2674. Further, if Nance is claiming that the United States violated a statutory duty, “[a]n

alleged violation of a federal statutory duty cannot form the basis of a FTCA claim.” Clark v.

United States, 326 F.3d 911, 914 (7th Cir. 2003), citing Ochran v. United States, 273 F.3d 1315,

1317 (11th Cir.2001).

       Also, if Nance is claiming negligence, like he did in his first complaint, he again fails to

establish the basic elements of a negligence claim under Illinois law that would support a FTCA

allegation. Doe-2 v. McLean Cnty. Unit Dist. No. 5 Bd. of Directors, 593 F.3d 507, 514 (7th Cir.

2010), citing Krywin v. Chi. Transit Auth., 391 Ill. App. 3d 663 (2009) (listing the “basic elements

of a negligence claim, which are the existence of a duty, breach of that duty, and an injury

proximately resulting from the breach.”). Specifically, he identifies no legal duty that was owed

to him that was supposedly breached by the United States, nor has he provided any support to

establish proximate cause. It is difficult to comprehend how the DOJ could have negligently failed

to require a company to perform under a grant that it no longer wished to receive, all so that it

would still be able and willing to employ Nance as a contractor.

       Furthermore, to the extent Nance challenges DOJ’s decision not to award him a grant and

to disallow him from reviewing and grading other grant applications for a program to which he

applied because he had a conflict of interest, the FTCA is not a vehicle for “‘second-guessing’ of

legislative and administrative decisions grounded in social, economic, and political policy through



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the medium of an action in tort.” United States v. S.A. Empresa de Viacao Aerea Rio Grandense

(Varig Airlines), 467 U.S. 797, 798 (1984).          This exception to the FTCA “insulates the

Government from liability if the action challenged in the case involves the permissible exercise of

policy judgment.” Berkovitz by Berkovitz v. United States, 486 U.S. 531, 537 (1988). . Besides,

it is not apparent what that purported tort would be under Illinois law.

       Regardless, Nance alleges no duty that was supposedly breached, and he fails to allege

facts that would support injury or causation resulting from a breach. Accordingly, Nance’s FTCA

claims (Claims 1-5) should be dismissed with prejudice because he failed to state a claim under

Illinois tort law, which is a prerequisite to an FTCA claim, and because the FTCA exempts these

claims, as set forth above.

       Also, most of Nance’s 81 statements of alleged facts do not even relate to the United States.

Id. at 4-14. For example, he alleges that: (1) EMAGES created correspondence sent to DOJ on its

subaward monitoring policy (id. at 4, ¶ 1); (2) Nance reported misuse of award funds to DOJ

employees in February 2020 (id., ¶ 5); (3) Nance sent an email alleging $880 in unauthorized

drawdowns by EMAGES (id. at 5, ¶ 12); (4) a DOJ employee informed EMAGES about Nance’s

report (id. at 7, ¶ 30); (5) EMAGES’ CEO reported that the $880 in drawdowns was for a job

candidate EMAGES was interviewing (id., ¶ 34); (6) EMAGES notified DOJ that it was

terminating its grant award (id. at 8, ¶¶ 38 and 40); (7) Nance disputed EMAGES’ reasons for

terminating the award (id., ¶ 41); (8) a DOJ employee inquired whether Nance would be named as

the point of contact for the EMAGES award (id. at 9, ¶ 44); (9) a DOJ employee sent an email

stating that the EMAGES award was terminated (id., ¶ 46); (10) OJP’s OCFO notified EMAGES

about problems with its recordkeeping and accounting practices as part of an audit (id. at 10, ¶ 51);

(11) Nance was invited to participate as a peer reviewer of applications to a grant program but that



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invitation was rescinded after OJP realized he had a conflict of interest as he had applied to that

grant program (id. at 10-14, ¶¶ 52-55, 65-66, 68, 72-78); and (12) Nance missed the deadline to

apply for a Fiscal Year 2021 Second Chance Act grant, was permitted to submit an untimely

application, and did not receive an award (id. at 11, ¶¶ 58-63). None of these alleged facts relate

to conduct by the United States, much less show that the United States committed a tort under the

FTCA.

        If Nance is alleging that his intentional infliction of emotional distress (“IIED”) claim

(Claim 1) serves as a basis for his FTCA claim, that claim should also be dismissed. First, the

Eleventh Circuit ruled, and the Supreme Court has suggested, that IIED claims are not permitted

under the FTCA. See Denson v. United States, 574 F.3d 1318, 1345 n.67 (11th Cir. 2009) (“In her

complaint in the FTCA case, Denson asserted a claim for intentional infliction of emotional

distress. We summarily dismiss this claim as it is not one of the torts enumerated within § 2680(h).

See 28 U.S.C. § 2680(h) (listing the torts of assault, battery, false imprisonment, false arrest, abuse

of process, and malicious prosecution).”); see also Christopher v. Harbury, 536 U.S. 403, 420 n.19

(2002) (expressing skepticism whether an IIED claim could be maintained under the FTCA and

citing to excluded enumerated torts).

        Second, even if such claims were allowed, to make out such a claim in Illinois, a plaintiff

must prove that (1) the defendant’s conduct was extreme and outrageous; (2) the defendant knew

that there was a high probability that the conduct would cause severe emotional distress; and (3)

the conduct in fact caused severe emotional distress. Swearnigen-El v. Cook Cnty. Sheriff's Dept.,

602 F.3d 852, 864 (7th Cir. 2010). The tort of IIED “does not extend to ‘mere insults, indignities,

threats, annoyances, petty oppressions, or other trivialities.’” McGrath v. Fahey, 126 Ill. 2d 78,

86 (1988) (quoting Restatement (Second) of Torts § 46, cmt. d (1965)). Rather, the conduct must



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go beyond all bounds of decency and be considered intolerable in a civilized community. See

Honaker v. Smith, 256 F.3d 477, 490 (7th Cir. 2001); Kolegas v. Heftel Broad. Corp., 154 Ill. 2d

1 (1992); Campbell v. A.C. Equip. Servs. Corp., Inc., 242 Ill. App. 3d 707 (1993).

       Here, Nance fails to allege any conduct by the United States that can be considered extreme

or outrageous by a reasonable person. He appears to suggest that because he is 71 years old,

receives social security benefits, owns a home, pays $500 per month for his car, and “would have

to get a grant” to have employment, that this transforms the United States’s alleged conduct into

something extreme and outrageous. Am. Compl. at 19. Nance’s age, personal finances, and

employment circumstances are not at issue.

       Besides, terminating a grant award at the request of a grant recipient is neither extreme nor

outrageous, whether or not as in this case the recipient had pandemic and financial reasons for

doing so. And barring an individual with a conflict of interest from reviewing grant applications

is not extreme or outrageous. Auditing a grantee in response to a report by a grantee’s employee

is not extreme or outrageous. Although Nance claims that the United States committed “nefarious

and outrageous act[s]” (Am. Compl. at 16), he has not alleged any extreme or outrageous conduct,

nor has he made any showing of severe emotional distress such that his IIED claim is

meritless...All that he is doing is trying to fit the proverbial square peg into a round hole.

       Nance further alleges that “the United States defendants assisted as conspirators due to

their negligence and their total disregard for addressing and processing appropriately a

Whistleblower Act complaint,” (Am. Compl. at 16) but, again, he fails to cite any legal authority

in support of a duty that was supposedly breached by the United States. Am. Compl. at 16-32.

Besides, as explained in our prior briefs, EMAGES was within its rights as the grant recipient to

terminate its grant award and provided its reasoning (not that it needed a good reason), which



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Nance has provided no objective reason to doubt. See Def. Mem. at 7, Dkt. 7; Def. Rep. at 5-6,

Dkt. 13.

       A. Nance Continues to Allege Claims That Are Excluded under the FTCA.

       Although the court cautioned Nance that some of his intentional tort claims are excluded

under the FTCA (Order at 12, Dkt. 19), Nance ignored that clear guidance and alleged them

anyway, including his independent claim for IIED (Claim 1), conspiracy (Claim 2), abuse of

process (Claim 3), defamation (Claim 4), and misrepresentation and deceit (Claim 5). As the court

warned Nance, if he intended to allege these intentional torts “he has pled himself out of court.”

Order at 12, Dkt. 19. Even if these claims are not barred under the FTCA, which they are, Nance

failed to explain what process was allegedly abused, what misrepresentations were allegedly made,

and any deceit on the part of the United States. 28 U.S.C. § 2680(h).

       Also, as we argued earlier, a conspiracy claim is fairly encompassed within the meaning of

“deceit” for purposes of section 2680(h). Def. Mem. at 9, Dkt. 7; see, e.g., United States v.

Neustadt, 366 U.S. 696 (“Deceit is intentional manipulation through lies or material omissions

when there is a duty to speak . . . .”); see Illinois Farmers Insurance Co. v. Preston, 505 N.E.2d

1343 (1987) (civil conspiracy under Illinois law involves intent to commit an unlawful act); Jones

v. City of Chicago, 856 F.2d 985, 992-993 (7th Cir.1988) (“There is no such thing as accidental,

inadvertent or negligent participation in a conspiracy.”); see also Mendrala v. Crown Mortg. Co.,

No. 88 C 7386, 1990 WL 129602, at *2 (N.D. Ill. Aug. 28, 1990) (FTCA does not waive sovereign

immunity for “claims that have deceit or misrepresentation as one of their elements”).

Furthermore, Nance appears to allege conspiracy as an independent tort (Claim 2) and this claim

accordingly would also fail because conspiracy is not an independent cause of action in Illinois.

Thomas v. Fuerst, 803 N.E.2d 619, 625-626 (Ill. App. 2004), citing Indeck North American Power



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Fund, L.P. v. Norweb plc, 735 N.E.2d 649 (2000). His unsupported conspiracy claim is therefore

barred under the FTCA.

       Nance’s defamation claim (Claim 4) is also barred (Apampa v. Layng, 157 F.3d 1103, 1104

(7th Cir. 1998) (holding that the FTCA was exclusive remedy for tort claims against federal

employees but barred suit for defamation); see also McDonnell v. Cisneros, 84 F.3d 256, 261 (7th

Cir. 1996) (“The United States is not liable under the Tort Claims Act for defamation by its

employees.”)), and, in any event, Nance does not explain how the United States allegedly defamed

him. Am. Compl. at 15 (“Yet they persecuted and defamed pro plaintiff in this court proceeding,

attempting to destroy his name, legacy, and integrity”); id. at 3 (“Due to the defamation,

humiliation, embarrassment, and stigma placed on the plaintiff for doing the right and just thing”).

Even if such claims were not barred by the FTCA’s defamation exception, they would not be

actionable under Illinois tort law because Illinois extends an absolute privilege to judicial

proceedings. Weisberg v. Rafael, 67 B.R. 392, 393 (N.D. Ill. 1986).

       B. Nance’s Claim for Relief Is Improper Under the FTCA.

       Nance seeks relief that is improper under the FTCA. For example, he seeks relief for “loss

of employment in violation of the Whistleblower Protection Act” and claims the “United States

employees violated the National Defense Authorization Act of 2013, amended 2016 (NDAA),”

10 U.S.C. § 2409, 41 U.S.C. § 4712 (whistleblower protections), 5 U.S.C. § 1221(e)(1)

(Whistleblower Protection Act), 31 U.S.C. § 3730 (the False Claims Act), and “the Federal Claims

[Act],” Am. Compl. at 34, none of which are proper claims for relief under the FTCA. Besides

these claims1 have already been dismissed with prejudice, as set forth above. Furthermore, 10


       1
          The court noted that Nance previously attempted to bring similar claims in his Second
Case and, like his Amended Complaint, only referenced 10 U.S.C. § 2409 (not § 4701) and 5
U.S.C. § 1221(e)(1) in one paragraph, and the court dismissed these claims for failure to prosecute.
Order at 2 n.2, Dkt. 19.
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U.S.C. § 2409 (renumbered as § 4701) applies to Department of Defense and National Aeronautics

and Space Administration grants only, not DOJ grants like the EMAGES grant award at issue.

Like his prior case, Nance makes no attempt to explain why he believes these statutory provisions

apply to his claims (not that federal statutory claims can be the basis for an FTCA claim based on

state tort law). Further, Nance has made no showing that the denial of his grant application or

being barred from reviewing applications (for a conflict of interest) were unlawful or in any way

improper.

       Nance also claims he is eligible to recover damages in excess of the amount requested in

his initial administrative claim. Am. Compl. at 23; see 28 U.S.C. § 2675(b) (an FTCA action

“shall not be instituted for any sum in excess of the amount of the claim presented to the federal

agency, except where the increased claim is based upon newly discovered evidence not reasonably

discoverable at the time of presenting the claim to the federal agency, or upon allegation and proof

of intervening facts relating to the amount of the claim”); see also Davis v. United States, 244 F.

Supp. 2d 878, 880 (N.D. Ill. 2002), aff’d, 375 F.3d 590 (7th Cir. 2004). Nance alleges that he has

newly discovered evidence not reasonably discoverable at the time of presenting his claim to the

agency. Am. Compl. at 23. Nance did not specify the substance or relevance of this alleged newly

discovered evidence, how it relates to his FTCA claim, and why it was not reasonably discoverable

at the time he presented his claim to the agency. Accordingly, even if Nance alleged a cognizable

claim under the FTCA, which he has not, he is not entitled to damages beyond what he claimed in

his FTCA administrative claim.

       Nance also again requests injunctive relief in the form of a “reprimand for all United States

employees involved in this matter,” and letters of support or letters of apology “addressed to all

and any collaborations/networks involved with [the grant] exonerating [Nance] of any and all



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wrongdoing, accusations, or allegations.” Am. Compl. at 34-35. These requested forms of relief

are not cognizable under the FTCA. 28 U.S.C. § 1346(b)(1). He also again seeks prejudgment

interest, which is not recoverable under the FTCA. 28 U.S.C. § 2674 (“The United States . . . shall

not be liable for interest prior to judgment or for punitive damages.”).

II.       Nance’s Remaining Claims Should Be Dismissed.

          Rather than confine his amended complaint to the FTCA, which was the only basis under

which the court allowed him another opportunity to file an amended complaint, Nance appears to

allege “a First Amendment claim under Title VII and Bivens.” Am. Compl. at 21. He claims that

the United States retaliated against him “for filing a Whistleblower complaint for fraud and gross

misappropriation of funds violating Title VII and the First Amendment” (Claim 7). Am. Compl.

at 33. Regardless, the Supreme Court has held that a constitutional tort claim is not cognizable

under the FTCA. F.D.I.C. v. Meyer, 510 U.S. 471, 477 (1994). To the extent Nance is now

pursuing a Bivens claim, that claim also fails because the Supreme Court has held that there is no

Bivens cause of action for First Amendment retaliation claims. Egbert v. Boule, 596 U.S. 482, 499

(2022).

          Further, Bivens “authorizes the filing of constitutional suits against individual federal

officers,” Bivens v. Six Unknown Agents of the Fed. Bureau of Narcotics, 403 U.S. 388, 397 (1971)

(emphasis added), not against the United States. Accordingly, since Nance filed his Amended

Complaint against the United States, and not against individuals, his Bivens claim fails for this

reason as well2. See, e.g., Smith v. United States, 678 Fed. Appx. 403, 406 (7th Cir. 2017) (“And




          2
          Even if Nance alleged Bivens claims against individual officers, which he did not, those
officers would be entitled to qualified immunity for the alleged conduct. Harlow v. Fitzgerald,
457 U.S. 800, 818 (1982); Burton v. Downey, 805 F.3d 776, 784 (7th Cir. 2015).

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any Bivens claim would necessarily fail because Smith did not name an individual defendant in

her complaint.”).

       Nance’s retaliation claims also fail for several reasons. First, they were already addressed

by this court and dismissed with prejudice. Dkt. 19, Order, at 18. Second, Nance’s Title VII

retaliatory discharge claim (Am. Compl. at 30), and his claim that “the United States violated his

First Amendment rights by retaliating against him for blowing the whistle on fraud and gross

misappropriation of funds.” (Am. Compl. at 21), is not actionable because Title VII of the Civil

Rights Act applies to federal employees3, which Nance was not, as the court already found.

Adusumilli v. City of Chicago, 164 F.3d 353, 362 (7th Cir. 1998). See No. 20 C 6316, Dkt. 64,

Order, at 13 (“plaintiff admitted in open court that he was not an employee of the Department of

Justice”); see also Pl.’s Resp. at 3, Dkt. 11 (“Plaintiff admits he was not a government

employee[.]”). Also, Title VII claims can only be brought against the head of a federal agency,

not against the United States. McGuinness v. United States Postal Service, 744 F.2d 1318, 1323

(7th Cir.1984). In any event, Nance’s retaliation claims fail.

       Third, even if Nance could bring a First Amendment retaliation claim, which he cannot,

Nance failed to specify how any alleged retaliation violated his First Amendment rights, nor do

his “facts,” even if true, support a First Amendment claim. In other words, he has not provided

sufficient facts to support a retaliation claim, which would require that he prove he engaged in

First Amendment-protected conduct, that he suffered a deprivation that would likely deter future




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            Nance recognizes that “[t]o state a claim for retaliatory discharge [in Illinois], an
employee must plead that (1) the employer discharged the employee, (2) the discharge was in
retaliation for the employee’s activities, and (3) the discharge violates a clearly mandated public
policy, Michael v. Precision All. Group, LLC, 2014 IL 117376, ¶ 31, 21 N.E.3d 1183, 1188
(emphasis added),” yet he wrongly asserts that claim anyway. See also Am. Compl. at 31.
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protected activity, and that the protected conduct was a motivating factor for taking the retaliatory

action. Bridges v. Gilbert, 557 F.3d 541, 546 (7th Cir. 2009).

           Nance’s claim that the United States retaliated against him in violation of the

Whistleblower Protection Act (Am. Compl. at 33) was dismissed, and he is barred from relitigating

that claim as the court already found, and which Nance even acknowledges (as Nance described

it, “stripped plaintiff’s Whistleblower Act rights”). Dkt. 19, Order, at 14. His attempt now to

shoe-horn those dismissed claims into an FTCA claim should be rejected for the reasons set forth

above, and because a whistleblower claim is not a state tort that can serve as the basis for a FTCA

claim. Paul v. United States, 929 F.2d 1202, 1204 (7th Cir. 1991) (The FTCA “applies only to

torts.”)

           Even if Nance could bring those claims again, which he cannot, the Whistleblower

Protection Act of 1989 only applies to federal employees (and applicants for employment) and

therefore it does not apply to Nance since he was never a federal employee, as set forth above. 5

U.S.C. § 2302. Regardless, as the court already found, Nance’s unsupported and speculative

whistleblower-related allegations do not add up to any state-law tort claim. Order at 11, Dkt. 19.




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                                          Conclusion

       For the foregoing reasons, the court should dismiss the claims against the federal

defendants in their entirety with prejudice, or alternatively grant them summary judgment.

                                            Respectfully submitted,

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